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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA

                                Plaintiff,
 -vs-                                                              Case No. CR-3-08-49 (3)

 DANIEL SAIN,

                                Defendant.


 ORDER ADOPTING THE REPORT AND RECOMMENDATIONS OF THE UNITED STATES
 MAGISTRATE JUDGE (DOC. #117) , AND ACCEPTING THE PLEA OF GUILTY


        This matter came on for a hearing on November 5, 2008, for a change of plea hearing. Upon
 unanimous consent of the parties the matter was heard before Chief United States Magistrate Judge
 Michael R. Merz. Having conducted a full plea colloquy with the defendant, the Magistrate Judge
 concluded that the Defendants plea of guilty was knowing, intelligent, and voluntary, and that there
 is an adequate factual basis for a finding of guilt.
        The Court, noting that no objections have been filed thereto and that the time for filing such
 objections expired on November 24, 2008, hereby ADOPTS said Report and Recommendations.
        Therefore, based upon the aforesaid, and this Courts de novo review of the comprehensive
 findings by the United States Magistrate Judge this Court adopts the Report and Recommendations
 of the United States Magistrate Judge (Doc. #117) in its entirety, finding that the plea was knowing,
 intelligent and voluntary. The Defendant is FOUND guilty of the offenses for which he pled. This
 matter is ORDERED referred to the Unites States Probation Department for a presentence
 investigation and report. Sentencing is scheduled for February 6, 2009, at 2:00 p.m.
        DONE and ORDERED in Dayton, Ohio, this 24th day of November, 2008.




                                                              s/Thomas M. Rose
                                                        _____________________________________
                                                            THOMAS M. ROSE, JUDGE
                                                         UNITED STATES DISTRICT COURT
